
The People of the State of New York, Respondent, 
againstCynthia Matyas, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Herman Klarsfeld, J.H.O.), rendered April 7, 2015, convicting her, upon her plea of guilty, of disorderly conduct, and imposing sentence.




Per Curiam.
Judgment of conviction (Herman Klarsfeld, J.H.O.), rendered April 7, 2015, reversed, on the law, and the accusatory instrument dismissed.
As the People concede, defendant's conviction must be vacated since the plea record lacks the requisite "affirmative showing" that defendant understood and waived her Boykin rights (see Boykin v Alabama, 395 US 238 [1969]). The People also agree that dismissal of the accusatory instrument is the appropriate corrective action in this particular case (cf. People v Conceicao, 26 NY3d 375, 385 n 1 [2015]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: November 18, 2019










